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                          UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA

 NAUTILUS INSURANCE COMPANY,                             ) Case No.: 2:22-cv-1307-RMG
                                                         )
                                           Petitioner,   )     DEFENDANT PALMETTO
                                                         )    STATE BANK’S REPLY TO
      vs.                                                ) PLAINTIFF’S OPPOSITION TO
                                                         )        THE MOTION FOR
                                                         )    PROTECTIVE ORDER AND
                                                         ) OBJECTIONS TO PLAINTIFF’S
 RICHARD ALEXANDER MURDAUGH, SR.,                        )      DEPOSITION NOTICE
 CORY FLEMING, MOSS & KUHN, P.A., CHAD                   )
 WESTENDORF, PALMETTO STATE BANK,                        )
 and THE UNITED STATES OF AMERICA,                       )
                                                         )
                                        Respondents.     )


       Defendant Palmetto State Bank (“PSB”) hereby submits this Reply to Plaintiff Nautilus

Insurance Company’s Memorandum in Opposition, [ECF-119] to the Motion for Protective Order

and Objections to Plaintiff’s Deposition Notice, [ECF-118]. For the reasons discussed below and

set forth fully in its Motion and incorporated Memorandum in Support, PSB respectfully requests

that this Honorable Court grant its Motion for Protective Order, which is necessary to conform the

topics of Nautilus’s Second Amended Notice of 30(b)(6) Deposition of PSB to the limits of

permissible discovery, as well as to protect PSB from discovery abuse and ambush.

                                              DISCUSSION

         1.      Nautilus admits it seeks to impermissibly use discovery in this case to end-
                 run the procedure and protections of the Federal Rules of Civil Procedure.

       In its memorandum, Nautilus relies on the Supreme Court of the United States’ opinion in

the case Oppenheimer Fund, Inc. v. Saunders for the proposition that “a matter is relevant if it

relates to ‘any matter that bears on, or that reasonably could lead to another matter that could bear

on, any issue that is or may be in the case.’” Nautilus’s Opp. to PSB’s Mot. for Protective Order,
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[ECF 119 at 2] (quoting Oppenheimer Fund, Inc. v. Saunders, 437 U.S. 340, 351 (1978) (emphasis

added by Nautilus)). Through this lens, Nautilus confesses that it intends to file a second amended

complaint in this case but, before doing so, “[it] has endeavored to perform as much discovery as

it reasonably can prior to seeking leave to amend . . . . ” Id. at 3 (double emphasis added).

Nautilus attempts to justify its overreaching discovery tactics by feigning concern for efficiency,

claiming it is somehow entitled to discovery of claims not pled so that it can attempt to “seek leave

only once [more].” Id. at 3 (emphasis added). Accordingly, Nautilus does not so much as pretend

that the deposition topics at issue seek information relevant to its current claims or that the topics

are proportional to the needs of this case. Rather, Nautilus specifically discloses that it “seeks to

discover information that is relevant and proportional to the development of the case, including

facts and connections revealing other claims Nautilus may be entitled to pursue relating to a

tangled scheme that harmed various parties.” Id. (emphasis added)

       Expanding discovery as part of a concerted attempt to gin up a new case is a novel way to

be efficient. The short of it is that Nautilus wants to capitalize on the sensationalism of totally

unrelated matters dating back many years before Mrs. Satterfield’s death; those matters are not

relevant to Nautilus, much less the claims it has asserted in this lawsuit, which alleges that

Murdaugh defrauded Nautilus and, in so doing, all the defendants somehow combined for the

purpose of injuring Nautilus.      This case is not about those other events.         Moreover, the

Oppenheimer Fund opinion does not support the carte blanche approach to discovery taken by

Nautilus, whose reliance on the opinion shows that Nautilus fails to recognize the boundaries of

discovery.

       In relying on the Supreme Court’s Oppenheimer Fund opinion from 1978, Nautilus leaves

out the most important part, bolded below, of the quote it cites:



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       The key phrase in this definition—“relevant to the subject matter involved in
       the pending action”—has been construed broadly to encompass any matter that
       bears on, or that reasonably could lead to other matter that could bear on, any issue
       that is or may be in the case.

Oppenheimer Fund, 437 U.S. 340, 351, 98 S. Ct. at 2389 (1978). Rule 26(b)(1) no longer contains

the phrase “relevant to the subject matter in the pending action,” described as “key” by the

Supreme Court.

       It used to be, under the federal rules, that any matter, not privileged, was presumptively

discoverable so long as it was “relevant to the subject matter involved in the pending action.” See

id. (citing Fed. R. Civ. Pro. 26(b)(1) (pre-2000 amendments). However, Rule 26(b)(1) was

amended in 2000 to narrow the scope of discovery. Rule 26(b)(1), in its current form, provides

that a nonprivileged matter is presumptively discoverable only if it is “relevant to any party’s claim

or defense and proportional to the needs of the case . . . .” Fed. R. Civ. Pro. 26(b)(1) (emphasis

added). The Committee Note explains that, in narrowing the scope of information presumptively

discoverable, “[t]he Committee intends that the parties and the court focus on the actual claims

and defenses involved in the action.” Advisory Committee Notes, 2000 Amendments to Rule 26,

Subdivision (b)(1); see also Asher v. Baxter Int’l, Inc., No. 02 C 5608, 2007 WL 3223396, at *3

(N.D. Ill. Oct. 25, 2007) (explaining parties “‘have no entitlement to discovery to develop new

claims or defenses that are not already identified in the pleadings.’”) (quoting Advisory Committee

Notes, 2000 Amendments to Rule 26, Subdivision (b)(1)).

       PSB has objected to topics proposed in the Deposition Notice that were not intended to be

relevant to the claims asserted in the Amended Complaint. This Court need only take Nautilus’s

word for it. Moreover, the burden and expense to PSB of preparing and presenting a witness

“informed, knowledgeable, and competent” to testify on its behalf regarding those improper topics,

and dozens of others, spanning more than 12.5 years, outweighs the importance of Nautilus’s mere

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hope to discover new claims, not resolve issues in the present litigation. Nautilus seeks to force

PSB to devote time and resources engaging in discovery of theoretical claims that have not been

subjected to any pleading standards.

       To be clear, PSB is not trying to stop discovery into matter relevant to a claim or defense

asserted by any party in the present case. Rather, in addition to asking for the limits of discovery

to be enforced, PSB is requesting a fair opportunity to present a witness who is informed,

knowledgeable, and competent to accurately answer, on its behalf, the questions that Nautilus

intends to ask. PSB’s desire for a fair and accurate record promotes the administration of justice,

but it requires that Nautilus provide notice to PSB that is reasonably particular with respect to the

matters for examination. Nautilus should not be allowed to hide the ball or ambush PSB’s designee,

which is why courts have held that Rule30(b)(6) requires a noticing party to be painstakingly

specific when stating matters for examination. See PSB Mot. for Protective Order [ECF-118 at 5-

6] (discussing the reasonable particularity requirement).

       Ultimately, PSB’s objections to the topics proposed in the Deposition Notice are based

primarily on three grounds that are independent of each other and yet equally important: relevancy,

proportionality, and reasonable particularity. The response of Nautilus to the objections is

addressed below by topic. It does not resolve the need for the protective order sought by PSB.

       2.      General Objection to Temporal Scope of all 35 Topics Noticed.

       To justify its command that PSB produce a witness “informed, knowledgeable, and

competent” to speak on its behalf to 35 topics covering matters that span over 12.5 years, Nautilus

cites the November 2022 conviction of Russell Laffitte, who is not a defendant in this case, on six

financial crime charges that did not relate to the claims of Mrs. Satterfield’s estate or Murdaugh’s

use of a fictitiously named account at Bank of America to divert the funds intended for the



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Satterfield estate. See [ECF-119 at 4].

       Having presided over the trial of Russell Laffitte, this Court is aware of the charges against

him, the evidence presented, and his conviction on six counts. Those counts concerned a

conspiracy between Murdaugh and Laffitte (not PSB or Westendorf); Laffitte’s use of money from

an account for the Estate of Donna Badger, for whom Laffitte served as personal representative,

including to repay a loan made from an account for Hannah Plyler, for whom Laffitte served as

conservator; Laffitte’s use of PSB’s funds; and a loan and line of credit that Laffitte extended to

Murdaugh. Absolutely none of the evidence at trial, or even the charges, had anything to do with

the Satterfield claims or a conspiracy by PSB or Westendorf to harm anyone, much less Nautilus.

The Laffitte conviction does not justify commanding PSB to produce a witness to testify to matters

predating Mrs. Satterfield’s fall by more than seven years.

       3.      Objections to Topic No. 4: How Customer Accounts and Information is
               Accessible and Accessed by Bank Employees

       Despite the overbroad and generalized phrasing of Topic No. 4, Nautilus states in its

Memorandum in Opposition that, with respect to this topic, “[i]t is Murdaugh’s accounts and

information that Nautilus seeks to inquire about, including their accessibility to Mr. Laffitte and

others at the bank.” [ECF-119 at 5]. Its questions, according to Nautilus, “will relate primarily to

Murdaugh and how his account information was accessible by bank personnel.” [Id. at 5]

(emphasis added). Nautilus does not, however, offer to limit Topic No. 4 to Murdaugh or his bank

accounts.

        In any event, Murdaugh’s account at PSB is not relevant to Nautilus’s claim that, in

connection with its decision to settle the Satterfield claims, Murdaugh defrauded the insurance

company and all the defendants combined for the purpose of injuring Nautilus. As previously

explained, the funds were not stolen from a PSB account of Murdaugh or any other customer.

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Rather, after Nautilus settled the Satterfield claims, the funds were drawn from Nautilus’s account

at Wells Fargo, deposited into the defendant law firm’s IOLTA account at BB&T, and then

transferred from BB&T to Murdaugh’s fictitiously named account at Bank of America. Access to

the accounts of PSB’s customers, even Murdaugh, has nothing to do with this case.

       4.      Objections to Topic No. 6: The Bank’s Policies, Processes, and Procedures

       PSB objected to subparts (a), (d), (f), (g), and (j) of Topic No. 6. [ECF-118 at 8-9]. These

subparts seek testimony on “the Bank’s policies, processes, and procedures for or relating to” the

following:

       (a) lending money and issuing loans, including limitations on lending, controls,
       authorization levels, collateral requirements, and account monitoring;

       (d) supervision, investigation, and/or auditing of the Bank by state and federal regulators
       and others;

       (f) establishing and/or handling of accounts related to deceased, incapacitated, or minor
       persons, including estate and conservator accounts;

       (g) issuing checks and/or money orders from the Bank;

       (j) Bank and/or other employee relationships with clients[.]

       In its Memorandum in Opposition, Nautilus does not offer to withdraw, narrow, or clarify

any of the above five topics. Instead, Nautilus doubles down on its overreach.

       Nautilus argues that subpart (a) is relevant because “Murdaugh had numerous accounts

with and loans from PSB[.]” [Id. at 5-6]. The fact that Murdaugh had accounts at PSB and that

PSB loaned him money has nothing to do with the claims in the present case, which, again, allege

that Murdaugh defrauded the insurance company and all the defendants combined for the purpose

of injuring Nautilus in connection with the decision of Nautilus to settle the Satterfield claims.

Moreover, the topic stated in subpart (a) is more general and far broader than just Murdaugh’s PSB

bank accounts and loans. As noticed, subpart (a) is not limited to any customer and covers the

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Bank’s policies, processes, and procedures for or relating to “lending money and issuing loans,

including limitations on lending, controls, authorization levels, collateral requirements, and

account monitoring.”

       Regarding subpart (d), Nautilus contends that it is relevant because “Murdaugh was

consistently in overdraft, which auditors and regulators consider a red flag for fraud and money

laundering . . . .” [ECF-119 at 6]. As explained above, Murdaugh’s PSB bank accounts have

nothing to do with this case. This remains true regardless of whether any overdrafts prompted “red

flags.” Moreover, that Murdaugh overdrew an account does not make information covered by

subpart (d) relevant or proportional. Subpart (d) seeks information on “policies, processes, and

procedures” of PSB, over more than 12.5 years, for or relating to “supervision, investigation,

and/or auditing of the Bank by state and federal regulators and others.” This topic is also not

noticed with the particularly reasonably required for PSB to present a witness prepared and

competent to speak, on PSB’s behalf, about supervision, investigation, and auditing of the bank

by unidentified government entities and others over a period spanning more than 12.5 years.

       As for subpart (f), Nautilus contends it is relevant because PSB’s employee, Defendant

Westendorf, served as the personal representative of the Estate of Gloria Satterfield. But

Westendorf’s service as the PR of Mrs. Satterfield’s estate does not make relevant PSB’s policies,

processes, and procedures related to establishing or handling of accounts related to incapacitated,

minor, or even deceased persons. The Estate of Gloria Satterfield did not have an account at PSB,

and of course, the funds at issue did not end up in an account for it at any bank. Murdaugh diverted

the funds to his account at Bank of America.

       Regarding subpart (g), Nautilus contends that PSB’s “policies, processes and procedures

for or relating to issuing checks and/or money orders from the Bank” are relevant because



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“Murdaugh is believed to have received money from illegal loans via PSB-issued checks and/or

money orders . . . .” [ECF-119 at 6]. This topic is illustrative of Nautilus’s overreach and abusive

discovery tactics. Loans, illegal or otherwise, are not relevant to any of its claims.

       Finally, regarding subpart (j), despite its overbroad and vague wording, Nautilus represents

that by including the topic, “[i]t seeks to understand what, if any, policies PSB has governing

employee’s banking relationships with its clients.” Even if the topic as noticed is considered

narrowed in this manner to eliminate “processes and procedures,” subpart (j) still seeks

information not relevant to Nautilus’s claims that, in connection with its decision to settle the

Satterfield claims, Murdaugh defrauded Nautilus and all the defendants combined for the purpose

of injuring it. Nautilus’s response also does not address proportionality or PSB’s concern regarding

the lack of particularity with which this topic has been noticed. Accordingly, in addition to being

narrowed to policies only, PSB reiterates its request that Nautilus be required to identify the

employee(s) and client(s) about whose relationship it intends to inquire.

       5.      Objections to Topic No. 7: The Means, Methods, and Materials Used to Train
               the Bank’s Employees.

       Despite the overbroad wording of Topic No. 7, Nautilus represents in its Memorandum in

Opposition that by including this topic, “it seeks to understand PSB’s practices and methods in

general with regard to training its employees,” in the hope that it “may discover” new claims, “such

as negligence on the part of PSB.” [ECF 119 at 6]. Nautilus’s response is emblematic of its

discovery overreach in this case and underscores why, if for no other reasons, fairness should

require that Nautilus be forced to heed the reasonable particularity requirement and allow PSB an

opportunity to proffer a witness who is informed, knowledgeable, and competent to speak on its

behalf about the matters that Nautilus intends to inquire. PSB asks the Court to narrow Topic No.

7 to the training that PSB provided to Defendant Westendorf.

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                                          CONCLUSION

       Several of the topics included in the Second Amended Notice seek information not relevant

to the claims asserted in this case. Nautilus’s Memorandum in Opposition merely confirms that

was not its intention. Nautilus’s desire to conduct discovery relevant to “other” theoretical claims

that it has not asserted flaunts the limits on discovery, violates the rule of proportionality, and

circumvents the pleading standards. Nautilus’s memorandum also fails to address PSB’s valid

concerns that certain topics to which it has objected are not stated with particularity sufficient for

PSB to present a witness informed, knowledgeable, and competent to testify on its behalf about

the areas of inquiry intended by Nautilus. Considering the foregoing, PSB respectfully requests

that the Court grant its Motion and Order the relief requested therein.

                                               Respectfully submitted,

                                               /s/ James W. Clement
                                               G. Trenholm Walker (Fed ID# 4487)
                                               Direct: (843) 727-2208
                                               Email: Walker@WGLFIRM.com
                                               Thomas P. Gressette, Jr. (Fed ID# 7261)
                                               Direct: (843) 727-2249
                                               Email: Gressette@WGLFIRM.com
                                               James W. Clement (Fed ID# 12720)
                                               Direct: (843) 727-2224
                                               Email: Clement@WGLFIRM.com

                                               WALKER GRESSETTE & LINTON, LLC
                                               Mail: P.O. Drawer 22167, Charleston, SC 29413
                                               Office: 66 Hasell Street, Charleston, SC 29401
                                               Phone: (843) 727-2200

                                               ATTORNEYS FOR PALMETTO STATE BANK

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Charleston, South Carolina




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